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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
    In re:
                                                           Case No.: 21-10023 (JTD)
    WARDMAN HOTEL OWNER, L.L.C.,1

             Debtor.
                                                           Re: Docket No. 329

       AMERICAN ROENTGEN RAY SOCIETY’S RESPONSE TO DEBTOR’S FIRST
       (SUBSTANTIVE) OMNIBUS OBJECTION TO DISALLOW CERTAIN CLAIMS

             The American Roentgen Ray Society (hereinafter, “ARRS” or the “Claimant”) hereby

submits this response (the “Response”) to the Debtor’s First (Substantive) Omnibus Objection to

Disallow Certain Claims [Docket No. 329] (the “First Omnibus Claim Objection”) in support

of the Claim (as defined below). In Response to the First Omnibus Claim Objection, ARRS

respectfully states as follows:

                                     PRELIMINARY STATEMENT

              1.   As detailed below, Debtor Wardman Hotel Owner L.L.C. (“Wardman” or the

    “Debtor”) was to be the venue of the ARRS Annual Meeting 2023 and was to make available

    rooms and conference areas in connection with that event. This business arrangement was

    memorialized in a Group Sales Agreement dated July 27, 2017 (the “Sales Agreement”).

    ARRS filed a valid Claim against the Debtor for the liquidated damages owed under the contract

    given the Debtor’s non-performance. The Debtor objected to the claim, stating that any liability

    under the Group Sales Agreement belonged solely to Marriott Hotel Services, Inc. (“Marriott”)

    purportedly pursuant to the terms of a management agreement between the Debtor and Marriott.

    See Schedule 2 to Exhibit A of the First Omnibus Claim Objection.


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 The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is 5996
Mitchell Road, #16, Atlanta, GA 30328.


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             BACKGROUND

             General Background

             2.     On January 11, 2021 (the “Petition Date”), the Debtor commenced this case

 (the “Chapter 11 Case”) by filing a voluntary petition for relief under chapter 11 of the

 Bankruptcy Code. The Debtor has continued in the possession of its property as debtor in

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

 examiner has been appointed in the Chapter 11 Case.

             3.     The Debtor’s primary asset was real property (the “Property”) located at 2600

 Woodley Road, NW, in the Woodley Park neighborhood of Washington, D.C.; a prime location

 adjacent to the Woodley Park station of the Washington Metro. At the time of the signing of the

 Sales Agreement, the Property was operated as Washington Marriott Wardman Park, a

 convention hotel (the “Hotel”). The Hotel contained 195,000 square feet of total event space and

 95,000 square feet of exhibit space, and its 1,152-room count was the third largest hotel by room

 count in Greater Washington. The Debtor permanently closed the Hotel prior to the Petition Date

 and marketed the Property to potentially interested parties. A detailed description of the Debtor’s

 business and facts precipitating the filing of the Debtor’s chapter 11 proceedings are set forth in

 the Declaration of James D. Decker in Support of the Debtor’s Chapter 11 Petition and First

 Day Relief (the “First Day Declaration”).

             4.     On June 18, 2021, the Debtor filed the Motion for Entry of an Order (A)

 Approving Asset Purchase Agreement and Authorizing the Sale of Debtor’s Assets Outside the

 Ordinary Course of Business; (B) Authorizing the Sale of Assets Free and Clear of Liens, Claims,


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 Rights, Encumbrances and Other Interests Pursuant to Bankruptcy Code Sections 105, 363(b),

 363(f), 363(m), and 1146; (C) Assuming and Assigning Certain Executory Contracts and

 Unexpired Leases; and (D) Granting Related Relief [Docket No. 262] (the “Sale Motion”)

 seeking the sale of the Property. Following an auction conducted on July 20, 2021, Carmel

 Partners Realty VII, LLC (the “Successful Bidder”) was deemed to have submitted the highest

 and best offer for substantially all of the Debtor’s assets, including the Property. On July 22, 2021,

 the Bankruptcy Court entered an order approving the sale [Docket No. 292] (the “Sale Order”).

 The Debtor and the Successful Bidder have both publicly stated that the Property will not be

 operated as a hotel any longer.

                     The Hotel Management Agreement

             5.     Between 1998 and the Petition Date, the Hotel’s day to day hotel operations

 had been managed by Marriott. The Debtor and Marriott were parties to the Second Amended

 and Restated Management Agreement, dated July 1, 2005 (as amended, the “Hotel

 Management Agreement” or “HMA”) [Doc. No. 62-3], governing Marriott’s services.

             6.     Under the HMA, Marriott—among other things—booked group and transient

 business; arranged for and supervised the Hotel’s public relations and advertising; prepared the

 Hotel’s marketing plans; procured all inventory and replacement dining ware, uniforms, and

 other supplies used in the Hotel’s public spaces and guest rooms; and planned, executed, and

 supervised Hotel repairs and management. HMA § 1.02(A). Marriott was given broad

 discretion “in all matters relating to the management and operation of the Hotel,” including all

 employment decisions, account, marketing and promoting the Hotel. HMA § 1.02(A).



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 However, the Debtor reserved the right, among other things, to inspect the premises at any

 reasonable time, for any reason, without notice. See HMA §1.05 (“Owner and its agents shall

 have access to the Hotel at any and all reasonable times for the purpose of inspection or showing

 the Hotel to prospective purchasers, tenants or Mortgagees.”).

             7.      The HMA also provided that the Debtor had the right to terminate its

 relationship with Marriott if certain financial metrics such as Operating Profit and the Revenue

 Index (as defined in the HMA) were below specific threshold levels set out in the HMA. See

 HMA § 2.02(A).

             The Group Sales Agreement

             8.      Pursuant to the Sales Agreement, attached hereto as Exhibit A and referenced

 in ARRS’ Proof of Claim Addendum (the “Addendum”), among other things, the Hotel was

 to be the venue of the ARRS Annual Meeting 2023 and was to make available rooms and

 conference areas in connection with the event.

             9.      The Sales Agreement contains a liquidated damages provision which states that

 if the contract is cancelled between January 1, 2021 and December 31, 2022, the amount of

 damages due to ARRS is $665,523.00.

             10.     ARRS submitted a claim based on the liquidated damage clause of the Sales

 Agreement for $665,523.00 [Claim No. 13]. The Debtor filed its First Omnibus Claim

 Objection to the ARRS claim on September 2, 2021 [Docket No. 329].

             11.     The Debtor asserts that all vendors and service suppliers for Hotel operations

 entered into contracts with the Hotel through Marriott and that, as a result, the Debtor has “few



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    (if any) direct obligations to satisfy the claims of Marriott’s creditors”. See Disclosure

    Statement With Respect To Debtor’s Plan Of Liquidation Pursuant To Chapter 11 Of The

    Bankruptcy Code at 10 [Docket No. 312]. Notably, Marriott disputes these assertions.

    Specifically, Marriott disputes the Debtor’s position that contracts with the Hotel, as well as

    certain other group contracts, are contracts with Marriott and that creditors of the Hotel are

    allegedly creditors of Marriott. 2Id.
                                   JURISDICTION AND VENUE

          12.      This Court has jurisdiction over this Chapter 11 Case and the ARRS Claim Disputes

pursuant to 28 U.S.C. §§ 157 and 1334. These are core proceedings pursuant to 28 U.S.C. §

157(b)(2)(B).

          13.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          14.      The statutory predicates for the relief requested herein are Bankruptcy Code

sections 501 and 502, Bankruptcy Rule 3007, and Local Rule 3007-1.


                                         RELIEF REQUESTED

             15.     ARRS submits that its Claim must be allowed and requests that the Court

    overrule the First Omnibus Claim Objection. The Debtor has provided absolutely no evidence

    to refute the validity of ARRS’ Claim other than a bald assertion in Schedule 2 of Exhibit A of

    the First Omnibus Claim Objection [Docket No. 329-2] that the Claim is “solely an obligation

    of Marriott”, and thus the Debtor has not carried its legal burden in objecting to the Claim.

                                            LEGAL ANALYSIS



2
 ARRS takes the position that Marriott and the Debtor are jointly and severally liable under the Sales Agreement.
ARRS thus reserves all rights to pursue claims against Marriott under the terms of the Sales Agreement.

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             16.     Section 502(a) of the Bankruptcy Code provides, in pertinent part, that “[a]

    claim or interest, proof of which is filed under section 501 of this title, is deemed allowed,

    unless a party in interest . . . objects.” 11 U.S.C. §502(a). Once an objection to a claim is filed,

    “the court, after notice and a hearing, shall determine the allowed amount of the claim.” 11

    U.S.C. § 502(b). A proof of claim filed in accordance with the Bankruptcy Rules “constitutes

    prima facie evidence of the validity and amount of the claim.” Fed. R. Bankr. P. 3001(f); 11

    U.S.C. § 502(a). Bankruptcy Rule 3001(c)(1) requires that “when a claim . . . is based on a

    writing, a copy of the writing shall be filed with the proof of claim.” Fed. R. Bankr. P.

    3001(c)(1).

             17.      When objecting to a claim that is prima facie valid, the objecting party must

    “produce evidence that would refute at least one of the allegations essential to the claim’s legal

    sufficiency.” In re Allegheny Intern, Inc., 954 F.2d 167, 173-74 (3d Cir. 1992). The objecting

    party carries the burden of going forward with evidence concerning the validity and the amount

    of the claim. Id. Only if the objecting party produces such evidence does the burden shift back

    to the claimant to prove the validity of the claim by a preponderance of the evidence. Id. The

    burden of persuasion is always on the claimant. Id.3 Although the existence of a claim is

    controlled by state or other federal law, “the allowance or disallowance of a claim in bankruptcy

    is a matter of federal law left to the bankruptcy court’s exercise of its equitable powers.” In re

    Johnson, 960 F.2d 396, 404 (4th Cir. 1992) (citing In re Northway Agencies, Inc., 106 B.R. 29,


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 The Supreme Court held “the burden of proof is an essential element of the claim itself; one who asserts a claim is
entitled to the burden of proof that normally comes with it.” Raleigh v. Ill. Dep’t of Revenue, 530 U.S. 15, 21 (2000).
Therefore, a claimant does not have the burden of proof if the claimant did not have it outside of bankruptcy. The
ultimate burden of proof for a particular claim will be based on non-bankruptcy law.

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 32 (N.D.N.Y. 1989); In re Shelter Enters., Inc., 98 B.R. 224, 229 (Bankr. W.D. Pa. 1989); In

 re Fantastik, Inc., 49 B.R. 510, 513 (Bankr. D. Nev. 1985)); see also Travelers Cas. & Sur. Co.

 v. Pac. Gas & Elec. Co., 49 U.S. 443 (2007) (emphasizing claims enforceable under applicable

 non-bankruptcy law will be allowed in the bankruptcy context, unless they are expressly

 disallowed).

             A. The Debtor is Bound by the Sales Agreement According to its Plain Meaning

             18.     The Sales Agreement at issue contains a choice of law clause which states that

 the Sales Agreement is to be construed in accordance with the law of Virginia. See Sales

 Agreement at 18. In general, Delaware courts will “honor a contractually-designated choice of

 law provision”. VSI Sales, LLC v. Int’l Fidelity Ins. Co., 2015 WL 5568623, at *2 (D. Del. Sept.

 22, 2015) (quoting J.S. Alberici Construction Co., Inc. v. Mid-West Conveyor Co., Inc., 750 A.

 2d 518, 520 (Del. 2000). See also Kruzits v. Okuma Machine Tools, Inc., 40 F. 3d 52, 55 (3d

 Cir. 1994). The Debtor has made no argument that the choice of law provision in the Sales

 Agreement is unenforceable.

             19.     Pursuant to Virginia contract law, “words that the parties used are normally

 given their, usual, ordinary, and popular meaning.” Preferred Sys. Solutions, Inc. v. GP

 Consulting, LLC, 284 Va. 382, 732 S.E.2d 676 (2012). Virginia law further states that

 “contracts are not rendered ambiguous merely because the parties or their attorneys disagree

 upon the meaning of the language employed to express the agreement. Even though an

 agreement may have been drawn unartfully, the court must construe the language as written if




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 its parts can be read together without conflict.” Doswell Ltd. P'ship v. Virginia Elec. & Power

 Co., 251 Va. 215, 222-23, 468 S.E.2d 84, 88 (1996) (internal citation omitted).

             20.     The description appearing on the first page of the contract plainly states that the

 Sales Agreement was intended to be an agreement between, “Washington Marriott Wardman

 Park, 2660 Woodley Road NW, Washington, DC, 20008-4106, (202) 328-2000 and American

 Roentgen Ray Society . . .”. Clearly, this is the name and address of the Debtor’s Hotel, and not

 the name and address of Marriott—as manager of the Debtor’s Hotel.

             21.     The Sales Agreement refers to the relevant parties as the “Hotel” and “ARRS”.

 Importantly, the term “Hotel” is not defined anywhere in the agreement and should thus be

 understood according to its plain meaning. In this case, the plain, ordinary meaning of hotel,

 which the parties knowingly used to describe the counterparty to the Sales Agreement, supports

 ARRS’ basic assertion that the Hotel itself and its owner (i.e., the Debtor), not just its

 management company or franchisor, is liable for the liquidated rejection damages due under

 the contract.

             22.     According to the Debtor’s position advanced in its First Omnibus Claim

 Objection, the term hotel should be read to mean Marriott i.e. Hotel Management. This reading,

 however, is contrary to Virginia law and irreconcilable with the rest of the agreement.

 Revealingly, the Sales Agreement later delineates ARRS’ right to terminate the contract should

 there be a change in “management within the hotel” (emphasis added). The Agreement thus

 expressly contemplates the separation of the “Hotel” and its management, further evidencing




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 the need for a plain reading of the contract which holds the Debtor liable for its contractual

 obligations.
         B. The Debtor is Bound by the Actions of its Agent—Marriott—Who Had Actual
         Authority to Enter into the Sales Agreement on the Debtor’s Behalf.

             23.     In the alternative, ARRS asserts that, if the Debtor is found not to be a party to

 the Sales Agreement in accordance with its plain meaning, the Debtor should be liable as a

 party to the Agreement through the actual and/or apparent authority of its managing agent—

 Marriott.

             24.     As noted above, the Debtor and Marriott entered into the HMA, which gave

 Marriott broad discretion to lease rooms and enter into group sales contracts on the Debtor’s

 behalf. See HMA §1.01-1.03. However, under the HMA, the Debtor retained significant

 authority over Marriott and the Hotel’s overall operations. See e.g., HMA §§ 1.05, 2.02, 4.02,

 and 4.04A.

             25.      The HMA contains a District of Columbia (“D.C.”) choice-of-law clause.

 HMA § 11.04. The Debtor hase made no argument that the D.C. choice of law clause in the

 HMA is unenforceable.

             26.     Consequently, the question of whether the HMA granted Marriott actual

 authority to enter into contracts on the Debtor’s behalf should be analyzed in accordance with

 D.C. contract law. Under D.C. law, “[a]ctual authority is determined from the principal's

 manifestations to the agent.” Oehme, van Sweden & Assocs., Inc. v. Maypaul Trading & Servs.

 Ltd., 902 F. Supp. 2d 87, 100–01 (D.D.C. 2012) (citing Makins v. District of Columbia, 861

 A.2d 590, 593 (D.C. 2004)).



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             27.      In this case, the Debtor’s manifestations to Marriott as its agent were clear.

 Pursuant to the HMA, Marriott was expressly given wide-ranging authority to engage in all

 transactions relating to the operation of the Hotel, including, but no limited to: “charges for

 Guest Rooms, commercial space, and services provided by the Hotel; food and beverage

 services; employment policies; credit policies; granting of leases, subleases, licenses and

 concessions for shops and businesses within the Hotel, provided that the term of any such lease,

 sublease, license or concession shall not exceed the Term of this Agreement; receipt, holding

 and disbursement of funds; maintenance of bank accounts; procurement of Inventories, supplies

 and services; payment of costs and expenses specifically provided for in this Agreement or

 otherwise reasonably necessary for the proper and efficient operation of the Hotel; and,

 generally, all activities necessary for operation of the Hotel.” HMA §1.02B.

             28.      Furthermore, the HMA expressly contemplates that such agreements will be

 negotiated and entered into by Manager on the Debtor’s behalf: “Additionally, Owner agrees

 to cooperate with Manager by executing such leases, subleases, licenses, concessions,

 equipment leases, service contracts and other agreements negotiated in good faith by Manager

 and pertaining to the Hotel that, in Manager's reasonable judgment, should be made in the name

 of the owner of the Hotel.” HMA §11.02.

             29.      Therefore, a plain reading of the HMA unambiguously grants Marriott—as

 manager—the express authority to negotiate and enter into transactions like the Sales

 Agreement on behalf of the Debtor, and to do so in the name of the Debtor as owner of the

 Hotel.



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             C. Debtor is Bound by the Actions of its Agent—Marriott—Who Had Apparent
             Authority to Enter into the Group Sales Agreement on Debtor’s Behalf.

             30.      Under Delaware law, “[a]pparent authority arises when the principal creates by

 its words or conduct the reasonable impression in a third party that the agent has authority to

 act.” State Farm Mutual Automobile Ins. Co. v. Adamson Car & Truck Rental, C.A. No. 08C-

 09-069 RRC., 2011 BL 147220, at *3 (Del. Super. Ct. May 31, 2011) (citing Guyer v. Haveg

 Corporation, 205 A.2d 176, 180 (Del. Super. 1964)). The concept of apparent agency

 or authority focuses not upon the actual relation of a principal and agent, but

 the apparent relationship. Smith v. New Castle County Vocational-Technical Sch. Dist., 574 F.

 Supp. 813, 825 (D. Del. 1983) (citing Billops v. Magness Construction Co., 391 A.2d 196, 198-

 99 (Del. 1978)). Manifestations by the alleged principal which create a reasonable belief in a

 third party that the alleged agent is authorized to bind the principal create an apparent agency

 from which spring the same legal consequences as those which result from an actual agency.

 Id. The manifestations may be made directly to the third party, or may be made to the

 community in general, for example by way of advertising. Id. In order to establish a chain of

 liability to the principal based upon apparent agency, a litigant must show reliance on the

 indicia of authority originated by the principal and such reliance must have been reasonable. Id.

             31.      Importantly, it is well settled that questions of agency are not subjected to

 absolute rules but, rather, turn on the facts of the individual case. State Farm Mutual Automobile

 Ins. Co. v. Adamson Car & Truck Rental, C.A. No. 08C-09-069 RRC., 2011 BL 147220, at *4

 (Del. Super. Ct. May 31, 2011) (citing Dweck, Success Apparel LLC et. al, v. Nasser et. al, 959

 A.2d 29, 39 (Del.Ch. 2008), vacated, 966 A.2d 348 (Del.Supr. 2009)). Summary judgment is



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    inappropriate when there are questions of apparent authority of an agent. Such questions are

    questions of fact and are for the jury to determine. Id. (citing Billops v. Magness Construction

    Co., 391 A.2d 196, 1999 (Del.Supr. 1978)).4

             32.      Here, one of the signatories of the Sales Agreement, Steve French, was vested

    with the title “Director of Group Sales at Washington Marriott Wardman Park”, which clearly

    suggests that Mr. French had authority to bind the Hotel under the agreement rather than to

    simply bind Marriott as its management company. Additionally, above the signatures of both

    Mr. French and Mr. Warner, who are listed as the “Director of Sales” and the “Senior Sales

    Executive”, respectively, is prominently displayed the text “Approved and authorized by

    Hotel”. Sales Agreement at 19.

             33.      Furthermore, the Debtor has put forth no evidence of any communications

    which would have informed ARRS that the parties signing the Sales Agreement did not have

    authority to bind the Debtor, nor any communications that would make it unreasonable for

    ARRS to rely on the titles of the signatories, their obvious authority to negotiate and enter into

    contracts that bind the Hotel, and the ordinary language of the Sales Agreement, which states

    that the relevant counterparty is the “Hotel” who has “approved and authorized” the signatories

    to enter into contracts on its behalf.



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  “In Billops v. Magness Construction Co., the Delaware Supreme Court reversed the granting of summary judgment
in a franchisor/franchisee relationship where the issue of whether a franchisor cloaked a franchisee
with apparent authority was presented. The Delaware Supreme Court held that the determination of whether or not a
franchisor cloaked a franchisee with apparent authority to act on its behalf is a question of fact that must be
determined by the fact-finder at trial after a full development of the facts.” State Farm Mutual Automobile Ins. Co. v.
Adamson Car & Truck Rental, C.A. No. 08C-09-069 RRC., 2011 BL 147220, at *4 (Del. Super. Ct. May 31, 2011)
(citing Billops v. Magness Construction Co., 391 A.2d 196, 1999 (Del. Supr. 1978)).


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             34.      It would therefore be wholly inequitable for the Debtor to cloak Marriott with

 authority to enter into contracts that, by their own terms, bind the “Hotel”, but then disclaim

 any liability under those agreements when it becomes convenient to do so.

                                    RESERVATION OF RIGHTS

             35.      The Claimant reserves the right to amend, modify, or supplement any proof of

 claim.

                                            CONCLUSION

             36.      The Claimant respectfully requests the Court (i) overrule the First Omnibus

 Claim Objection as it relates to the ARRS Claim, and (ii) allow the ARRS Claim in full.


Dated: October 20, 2021
       Wilmington, Delaware
                                                 POLSINELLI PC

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                                      Exhibit A

                                 Group Sales Agreement




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